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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


TYANNE DAVENPORT                                                           CIVIL ACTION

VERSUS                                                                     NO. 16-13133

EDWARD JONES & CO., L.P.                                                   SECTION "F" (5)

                                        JUDGMENT

       For the written reasons of the Court on file herein, accordingly;

       IT IS ORDERED, ADJUDGED AND DECREED that there be judgment in favor of

defendant, Edward D. Jones & Co., L.P. and against plaintiff, TyAnne Davenport. Dismissing

plaintiff’s claims against defendant with prejudice.

       New Orleans, Louisiana, this     4th day of _____________,
                                                       May        2017.




                                                       UNITED STATES DISTRICT JUDGE
